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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       ROANOKE DIVISION


      BRUCE A. ESTES,                      )
           Plaintiff,                      )
                                           )       Civil Action No. 7:15-cv-00155
                                           )
      v.                                   )       By: Elizabeth K . Dillon
                                           )           United States District Judge
      HAROLD W. CLARKE, eta/. ,            )
          Defendants.                      )

                                            CONSENT ORDER

             In accordance with this Court's Memorandum Opinion (Dkt . No . 159) entered on June 5,

      2018 (the "Memorandum Opinion"), it is agreed by the parties and hereby ORDERED as

      follows:

             1.     The Virginia Department of Corrections ("VDOC") and the River North

                    Correctional Center ("River North", and together with VDOC, the "Defendants")

                    will provide River North inmate Bruce Estes with a religious diet consistent with

                    his Orthodox Jewish beliefs;

             2.     For lunch and dinner, Estes will be provided with prepackaged kosher meals that

                    contain an acceptable Orthodox Jewish kosher certification. A list of acceptable

                    kosher certifications is attached hereto as Exhibit 1;

             3.    The prepackaged meals served to Estes shall be comparable in variety consistent

                    with the Common Fare diet and periodically may provide meat (beef and/or

                   poultry) as pa11 of the diet. For the avoidance of doubt, the kosher diet to be

                   provided to Estes is not intended to be purely vegetarian or pescatarian;
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           4.     The prepackaged kosher meals served to Estes shal l be either frozen meals or an

                  assortment of frozen or shelf-stable meals ;

           5:     The prepackaged kosher meals may be supplemented to meet nutritional

                  requirements, which may include items that are sealed in their original packaging

                  and contain an acceptable kosher ce11ification;

           6.     The prepackaged kosher meals will be sealed and double-wrapped in foil or

                  plastic during cooking and when served to Estes. Double-wrapped prepackaged

                  kosher meals may be cooked in the Common Fare menu oven and served to Estes

                  on Common Fare menu trays;

           7.     A temperature probe will not be used on the prepackaged kosher meals served to

                  Estes;

           8.     The kosher certification from the Vaad HaKashrus of Tidewater, attached hereto

                  as Exhibit 2, is acceptable for milk and juice;

           9.     Estes can be served raw fruits and vegetables, whole and uncut;

           10.    For breakfast, Estes will be served uncooked food , including dry cereal, cheese,

                  bread, juice, fresh fruit, coffee and milk, but the Defendants may, asan

                  alternative, opt to serve him with prepackaged kosher meals. All food items

                  served to Estes at breakfast will contain an acceptable kosher certification;

           I 1.   Estes will sign the "Kosher Diet Agreement" in the form attached hereto as

                  Exhibit 3;

           12 .   This Consent Order and relief provided herein will apply only to Estes;

           13 .   Estes ' Shofar-related claim against the Defendants is dismissed with prejudice;

           14 .   The Defendants will not appeal the Memorandum Opinion ; and



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                 15 .        Counsel for Estes will receive from the Defendants attorneys' fees and costs in

                             the amount of $249,000.



     Dated: October 16, 2018



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                                                                  By:
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     Allorneys for Plaintiff Bruce A. Estes




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                                                                  Elizabeth K. Dillon
                                                                  United States District Judge




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                                    Exhibit I
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          The most common Kosher symbols :




             1.   @        OU Kosher- Orthodox Union




             2.   ®        OK Kosher




             3. *          Star-K




             4.   ~      KOF-K Kosher Supervision



             5.   ~        COR- Kashruth Council of Canada




             6.   ~        CRC - Chicago Rabbinica l Co uncil




             7.       @9 CRC- Central Rabbinical Congress


             8.   ~      Heart K- Kehillah Kosher
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            9.                  KSA -Kosher Supervision of America



             10.   ~RCC           Kosher- Rabbinical Council ofCalifornia




             II.   ~Rabbi         Yechiel Babad- Tatikover Rav




            12.                       Tarnopol Kashrus




            13 .
                    d\5        Yaad Hakashrus Crown Heights




            14.              New Square Kashrus Council




            15.    9•      Rabbi Menachem Meir We issmandel




                   (,~-,   MMWM::l.

            17.    ~~~~ Beis Din Tzedek of the Eidah Hachareidis of Jerusalem


            18.
                   [0]         KAJ - Khal Adath Jeshurun




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                                    Exhibit 2
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                                                       ~__,.....-........._...,........._   ........._~~   .............   ~--.....-.A.._~_....,__~~~~~




~                                                                                                                                     -r''oJ.       ~~
                                 Vaad HaKashrus of Tidewater
                                        420 Spotswood Avenue
                                        Norfolk, Virginia 23517


                                                                                                                                                     r~
             LETTER OF KOSHER CERTIFICATION
    December 14, 2017
    26 Kislev, 5778
                                                                                                                                                     r~
    To whom it may concern:
    This letter certifies that all products manufactured at the State Farm Milk
    Processing Plant located in State Farm, VA are kosher and dairy for year-round
    use, excluding Passover, under the supervision of the Vaad Hakashrus of
    Tidewater.
~

                                                                                                                                                      ~J
    This certification is valid until December 31, 2018.



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                           ~-
           Rabbi Shalom ' stofsky
           Kashrus Supervisor
                                                                                                                                                      ~:
          www.vakosher.com              phone (757) 572-6344                                        rabbi@vakosher .com
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                                                    Vatu! H a K a .\·lzrus of Tidewater
                                                             420 Spotswood Avenue
                                                             Norfolk. Virginia 23517




               LETTER OF KOSHER CERTIFICATION
  December 13, 2017
  25 Kislev, 5778

  To whom it may concern :

  This letter certifies that the following products manufactured at the Bland Correctional Center located
  at 256 Bland Farm Road, Bland VA are kosher and Pareve for year-round use, excluding Passover,
  under the supervision of the Vaad Hakashrus of Tidewater.

                                                                       • Fruit Punch Flavor Drink
  • 100% Orange Juice Blend from Concentrate      • Grape Flavor Drink
  • 100% Apple Juice Blend from Concentrate       • Lemon Flavor Drink
  • 100% Fruit Punth Juice Blend from Concentrate • Orange Flavor Drink

  This certification is valid through December 31, 2018.

                                    I        ,.,.   # ,



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             Rabbi Shalom Mostofsky-
             Kashrus Supervisor

            www .liokoshe.; .com                            phone ( 757) 572-6344          vakosnt?r@gmaH .corn
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                                     Exhibit 3
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                            VIRGINIA
                    DEPARTMENT OF CORRECTIONS
                                                                                  Kosher Diet Agreement       841_F8_8-18



                                                      Kosher Diet Agreement
      The Virginia Department of Corrections ("VDOC") represents that the Kosher Diet provides me with an
      appropriate religious diet that meets or exceeds the minimum daily nutritional requirements and 1 agree to
      abide by all Kosher Diet requirements and acknowledge that I have been advised ofthe following:

             I.     If approved by the Institutional Classification Authority (ICA) and the Faci lity Unit Head,
                    1agree to participate in the Kosher Diet.                                              ·
             2.     I understand that I am eligible to receive Kosher meals.
             3.     I have been notified that if a transfer to another VDOC institution is necessary, I should
                    begin receiving Kosher meals immediately upon arrival unless the transfer was for a
                    med ical emergency or for an unforeseen penalogical reason, in which case I will begin to
                    receive Kosher meals as soon as practical , but no later than 7 days after arrival at the
                    institution.
             4.     I understand that I am only authorized one tray per meal.
             5.     If I am observed or detected picking up or eating fro m a rion-Kosher meal, I have been
                    advised that l will be assessed the cost of a Kosher meal (currently $3.25 per meal) .
             6.     If I am observed or detected eating, trading, or possessing unauthorized food items from
                    the main line, I have been advised that I will be assessed the cost of a Kosher meal
                    (currently $3.25 per meal).
             7.     I have been informed that I may withdr~w from the Kosher Diet by submitting a written
                    request to my institutional Counselor that I be removed. Furthermore, I understand that if I
                    voluntarily withdraw, I cannot reapply for the Kosher Diet for six months.
             8.     I will not be charged the cost of a Kosher meal if I fail to pick up or eat such meal as the
                    result of a fast day or holiday or medical issue.
             9.     If 1 choose to take Common Fare or regular meal trays every day for 14 consecutive days,
                    VDOC has the right to interpret this as a change in my beliefs and VDOC may terminate
                    this agreement. VDOC shall provide me with written notice of termination and I will have
                    the ability to contest that termination through the regular Offender Grievance Procedure.
                    Thereafter, I will still be allowed to choose between Common Fare or the regular meal
                    plan. I understand that if this agreement is tem1inated under this provision, I cannot reapply
                    for the Kosher Diet for six months.


      Offender Signature      I
      Offende r Name and Number (please      print)   J
      Date   I
      Staff Witness       I
      Institution     I
      Origi nal : Scan into VACORIS
      Copy: Offender




                                                                                                  Revision Date: /0112118
